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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )                      CRIMINAL ACTION
                         Plaintiff,         )                      No. 09-20005-08/25-KHV
                                            )
v.                                          )
                                            )                      CIVIL ACTION
JAVIER DOZAL and                            )                      No. 10-2674-KHV
CARLOS DOZAL-ALVAREZ,                       )                      No. 10-2675-KHV
                                            )
                         Defendants.        )
____________________________________________)

                               MEMORANDUM AND ORDER

       On April 19 and July 7, 2011, the Court overruled the motions to vacate sentences under 28

U.S.C. § 2255 filed by Javier Dozal and Carlos Dozal-Alvarez and denied a certificate of

appealability as to both motions. See Memorandum And Order (Doc. #978) (Dozal-Alvarez);

Memorandum And Order (Doc. #975) (Dozal). On July 7, 2011, the Court overruled the motion to

reconsider filed by Javier Dozal. See Memorandum And Order (Doc. #977). On July 18, 2011,

Dozal appealed. See Notice Of Appeal (Doc. #981). On August 3, 2011, Dozal-Alvarez appealed.

See Notice Of Appeal (Doc. #985). This matter is before the Court on the Joint Consolidated

F.R.Evid. 201 Notice Of Void Judgment/Final Order(s) And Demand Pursuant To Principles

Underlying FRCP Rule 60(b)(3), (4), (5), (6) (Doc. #989) which Javier Dozal and Carlos Dozal-

Alvarez filed September 6, 2011, and which the Court construes as a motion to reconsider. For

reasons stated below, the Court overrules defendants’ motion.

       Subject to exceptions which do not apply in this case, the filing of a notice of appeal divests

a district court of jurisdiction. See United States v. Madrid, 633 F.3d 1222, 1226-27 (10th Cir.

2011); United States v. Brown, 290 Fed. Appx. 157, 159 (10th Cir. 2008); United States v. Prows,

448 F.3d 1223, 1228 (10th Cir. 2006); United States v. Meyers, 95 F.3d 1475, 1489 n. 6 (10th Cir.
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1996), cert. denied, 522 U.S. 1006 (1997); see also United States v. Varah, 952 F.2d 1181, 1182-83

(10th Cir. 1991) (pending appeal divests district court of jurisdiction to decide motion for new trial

on grounds of newly discovered evidence). This rule is a judge-made doctrine, designed to promote

judicial economy and avoid the confusion and inefficiency that might flow from putting the same

issue before two courts at the same time. Madrid, 633 F.3d at 1226.

       The Tenth Circuit has noted certain exceptions to the general rule as follows:

                To be sure, an effective notice of appeal does not prohibit all later action in
       the case by the district court. Under the Federal Rules the district court can proceed
       to resolve some matters simultaneously with the appellate court’s consideration of
       the appeal. For example, Federal Rule of Appellate Procedure 4(b)(5) gives the
       district court concurrent jurisdiction to correct a sentence under Federal Rule of
       Criminal Procedure 35(a). Also, the Appellate Rules specify certain motions that toll
       the time to file a notice of appeal, and the effect of a notice of appeal is suspended
       while such a motion is under consideration by the district court. See Fed. R. App.
       P. 4(a)(4)(B)(i) (civil appeals); id. 4(b)(3)(B) (criminal appeals); id. advisory
       committee’s note, 1993 Amendment (“A notice [of appeal] filed before the filing of
       one of the specified motions or after the filing of a motion but before disposition of
       the motion is, in effect, suspended until the motion is disposed of, whereupon, the
       previously filed notice effectively places jurisdiction in the court of appeals.”).

                In addition, appellate courts have carved out further exceptions to the general
       rule that allows district courts to address certain matters when judicial efficiency is
       thereby enhanced. District courts “may act in aid of the court of appeals’ exercise
       of its jurisdiction,” may address “matters that are [not] comprehended within the
       appeal,” and may continue full consideration of the case if it certifies that the notice
       of appeal is invalid or frivolous. 16 Charles Alan Wright et al., supra § 3949.1; see
       Stewart v. Donges, 915 F.2d 572, 575 n. 3 (10th Cir. 1990) (district court retains
       jurisdiction over ministerial matters in aid of the appeal and matters tangential to the
       appeal); id. at 576–78 (discussing district-court certification that the appeal is
       frivolous or forfeited); Garcia v. Burlington N. R.R. Co., 818 F.2d 713, 721 (10th
       Cir. 1987) (district court retains jurisdiction over “collateral matters not involved in
       the appeal”); 20 James Wm. Moore et al., supra § 303.32[2][b] (district court may
       take steps to maintain status quo or in aid of appeal, may address matters not
       involved in the appeal, and may proceed if appeal is frivolous).

Madrid, 633 F.3d at 1226-27. None of these exceptions would permit the Court to reconsider its

rulings on defendants’ Section 2255 motions or its ruling on a prior motion to reconsider filed by

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Dozal.

         Defendants argue that the Court has jurisdiction to hear their motion because the civil

judgment in the Section 2255 proceeding is void. See Doc. #989 at 3-4. Under Fed. R. Civ.

P. 60(b)(4), a litigant may obtain relief from a final judgment if “the judgment is void.” A judgment

may be void “if entered in a manner inconsistent with due process.” Orner v. Shalala, 30 F.3d 1307,

1310 (10th Cir. 1994). Despite the label attached to their argument, defendants assert a violation

of Title III, specifically 18 U.S.C. §§ 2515 and 2518, which involves the admissibility of certain

evidence. See id. at 1-3. Defendants attack (1) the Court’s reliance on information which was

allegedly indirectly obtained as a result of a violation of Title III and (2) counsel’s failure to raise

this issue. See id. These arguments are related to the current appeal and do not assert that the Court

entered judgment in the Section 2255 proceedings in a manner inconsistent with due process.1 The


         1
                To the extent that defendants attack the validity of the underlying criminal judgment,
such a challenge must be raised under 28 U.S.C. § 2255, not under Rule 60(b) of the Federal Rules
of Civil Procedure. See United States v. Mazun, 369 Fed. Appx. 876, 878 (10th Cir. 2010)
(defendant’s Rule 60(b) motion which challenges validity of criminal judgment is not “true”
Rule 60(b) motion, but rather second Section 2255 motion); United States v. Kirtman, 310 Fed.
Appx. 278, 281 (10th Cir.) (bar against successive Section 2255 petitions may not be avoided by
simply styling petition under different name), cert. denied, 129 S. Ct. 2071 (2009); In re Cline, 531
F.3d 1249, 1253 (10th Cir. 2008) (claim nominally filed under Rule 60(b) in habeas proceeding is,
in substance, a successive habeas claim if it asserts or reasserts substantive challenge to validity of
conviction); see also United States v. Patrick, 264 Fed. Appx. 693, 695 (10th Cir. 2008) (challenge
that defendant was convicted without jurisdiction is challenge to validity of conviction and must be
brought pursuant to Section 2255 unless that remedy is inadequate or ineffective); United States v.
Nelson, 465 F.3d 1145, 1149 (10th Cir. 2006) (relief sought, not pleading title, determines whether
pleading is Section 2255 motion). After a defendant has exhausted his direct appeal in a criminal
action, his exclusive remedy for raising a challenge to his conviction and sentence is under
Section 2255 unless that remedy is inadequate or ineffective. See United States v. McIntyre, 313
Fed. Appx. 160, 162 (10th Cir. Feb. 23, 2009); Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir.
1996). Failure to obtain relief under Section 2255 does not establish that the remedy so provided
is either inadequate or ineffective. Bradshaw, 86 F.3d at 166. Absent authorization from the Tenth
Circuit Court of Appeals, the Court cannot entertain a second or successive Section 2255 motion.
                                                                                         (continued...)

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Court therefore declines to consider defendants’ new arguments related to Title III because by doing

so, the Court would thwart – not aid – The Tenth Circuit’s exercise of jurisdiction on related issues

in the appeals of both defendants. Madrid, 633 F.3d at 1227. Because defendants have already filed

notices of appeal, the Court denies defendants’ motion to reconsider for lack of jurisdiction.

       IT IS THEREFORE ORDERED that the Joint Consolidated F.R.Evid. 201 Notice Of Void

Judgment/Final Order(s) And Demand Pursuant To Principles Underlying FRCP Rule 60(b)(3), (4),

(5), (6) (Doc. #989) which Javier Dozal and Carlos Dozal-Alvarez filed September 6, 2011, which

the Court construes as a motion to reconsider, be and hereby is OVERRULED.

       Dated this 18th day of October, 2011 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




       1
         (...continued)
See Kirtman, 310 Fed. Appx. at 281 (Rule 60(b) motion subject to second or successive
authorization requirements if, in substance or effect, motion asserts or reasserts federal basis for
relief from underlying conviction); Gonzalez v. Crosby, 545 U.S. 524, 531-32 (2005); Spitznas v.
Boone, 464 F.3d 1213, 1215 (10th Cir. 2006).


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